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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------x

LYNNE FREEMAN, an individual,

                                            Plaintiff,

                 -against-

TRACY DEEBS-ELKENANEY P/K/A TRACY                                 Case No. 1:22-cv-2435
WOLFF, an individual, EMILY SYLVAN KIM, an
individual, PROSPECT AGENCY, LLC, a New                            ORDER FOR ADMISSION
Jersey limited liability company, ENTANGLED                           PRO HAC VICE
PUBLISHING, LLC, a Delaware limited liability
company, MACMILLAN PUBLISHERS, LLC, a
New York limited liability company, UNIVERSAL
CITY STUDIOS, LLC, a Delaware limited liability
company
                                              Defendants.
--------------------------------------------------------------x


        The motion of Mark D. Passin, Esq., for admission to practice Pro Hac Vice in the

above captioned action is granted.

        Applicant has declared that he is a member in good standing of the bar of the state

of California and that his contact information is as follows:

Mark D. Passin, Esq.
CSReeder, PC
11766 Wilshire Boulevard, Suite 1470
Los Angeles, CA 90025
(310) 861-2475
mark@csrlawyers.com


        Applicant having requested admission Pro Hac Vice to appear for all purposes as

counsel for Lynne Freeman in the above entitled action;

        IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hac Vice

in the above captioned case in the United States District Court for the Southern District of
   Case 1:22-cv-02435-LLS-SN Document 12-1 Filed 04/26/22 Page 2 of 2




New York. All attorneys appearing before this Court are subject to the Local Rules of

this Court, including the Rules governing the discipline of attorneys.


Dated: New York, New York                        ________________________________
       April __, 2022                                  Hon. Analisa Torres
